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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Case No. 1:21-cv-01381-MEH

ALEXANDRA DAVIS, Individually and
On Behalf of All Others Similarly Situated,

               Plaintiff,

v.

BJ'S RESTAURANTS, INC., and
BJ'S RESTAURANT OPERATIONS COMPANY,

               Defendants.


     JOINT MOTION FOR FURTHER EXTENSION OF TIME FOR DEFENDANTS TO
       RESPOND TO COMPLAINT, AND TO RESET SCHEDULING CONFERENCE


       Plaintiff Alexandra Davis and Defendants BJ’s Restaurants, Inc. and BJ’s Restaurant

Operations Company jointly request an additional 30 days within which Defendants may file their

responsive pleadings to Plaintiff’s Original Collective and Class Action Complaint and Jury

Demand (“Complaint”) (ECF No. 1). The parties are currently reviewing arbitration agreements

that may be applicable to this matter in order to determine whether the case should proceed in this

forum, or should be moved to arbitration. The additional time requested will allow the parties to

conduct this due diligence and determine whether they can jointly agree how to proceed without

motions practice.

       Plaintiff served the Complaint on Defendants on June 2, 2021. (ECF Nos. 9, 10). Pursuant

to D.C.Colo.LCivR 6.1(a), the parties stipulated to a 21-day extension of time for Defendants to

file a responsive pleading, making the current deadline July 14, 2021. The parties now seek an
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additional 30 days, or until August 13, 2021, for Defendants to file their responsive pleadings.

This is the parties’ second request for extension of this deadline. As required by D.C.Colo.LCivR

6.1(c), the undersigned counsel will serve a copy of this joint motion on their respective clients.

         The parties also seek to reset the Fed. R. Civ. P. 16 scheduling conference, currently set

for July 26, 2021, to a date after August 13, 2021, in order to conserve judicial resources in the

event the parties are able to agree that the dispute should proceed in arbitration, rather than in this

forum.

         Dated this 9th day of July, 2021.

 s/ Jennifer S. Harpole                            s/ Don J. Foty
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